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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

STUDENTS FOR JUSTICE IN
PALESTINE, AT THE UNIVERSITY OF
HOUSTON et al.,

        Plaintiffs,

v.                                                        Case No. 1:24-cv-00523

GREG ABBOTT et al.,

        Defendants.
                                                  /

                  MOTION BY MIDDLE EAST FORUM
FOR LEAVE TO FILE AN AMICUS CURIAE BRIEF IN SUPPORT OF DEFENDANTS’
  RESPONSE TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

        Pursuant to Local Rule CV-7, Middle East Forum (“MEF”) respectfully requests leave to

file a short amicus curiae brief in support of Defendants’ Response to Plaintiffs’ Motion for a

Preliminary Injunction (“Defendants’ Response”). The proposed brief is attached as Exhibit 1.

Defendants consent to the filing of this brief.

        This Court has “broad discretion to permit the filing of an amicus brief.” Cina v. Cemex,

Inc., 4:23-cv-00117, 2023 WL 5493814, at * 1 (S.D. Tex. Aug. 17, 2023). Where the proffered

information is “timely and useful or otherwise necessary to the administration of justice,” leave

should be granted to consider “insight on the issues presently” before the Court. See id. and Does

1-7 v. Round Rock Indep. Sch. Dist., 540 F. Supp. 2d 735, 739 n.2 (W.D. Tex. 2007) (“Furthermore,

the Court has discretion to consider ‘amicus’ briefing where ‘the proffered information is ‘timely

and useful’ or otherwise necessary to the administration of justice.’” Internal citations omitted.).

Both factors are met here.




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        MEF is a think tank that promotes American interests in the Middle East and protects

Western values from Middle Eastern threats. MEF has multiple projects that touch on the subject

matter of the instant litigation. For example: (1) Campus Watch, which is focused on reviewing

and critiquing the intellectual roots of bias in the Middle East, studies programs on college

campuses and aims to improve overall education about the Middle East; and (2) Islamist Watch

Project, which, while identifying and promoting the work of moderate Muslims, exposes the

radicalizing impact of domestic lawful Islamist networks. The proper resolution of this case is a

matter of utmost concern to MEF because it touches on not only MEF’s core mission, but its aims

as they relate to universities and society at large.

        MEF’s expertise in this area provides MEF with the unique capacity to provide a more

comprehensive understanding of relevant facts rendering Executive Order No. GA-44 (“Executive

Order”) necessary, appropriate, and the least restrictive means to protect public universities from

outside forces, including terrorist organizations and nation-state proxies, that misuse school and

community organizations to foment chaos and hijack institutions.

        MEF’s brief is timely, because it is filed within seven (7) days of Defendants’ Response.

See, e.g., Fed. R. App. P. 29(a)(6) (“An amicus curiae must file its brief, accompanied by a motion

for filing when necessary, no later than 7 days after the principal brief of the party being supported

is filed”). No party will be prejudiced by its filing.

        For the foregoing reasons, MEF respectfully requests that this Honorable Court grant this

motion, and accept for filing MEF’s proposed amicus curiae brief, attached as Exhibit 1 to this

Motion.




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Date: August 26, 2024                   Respectfully submitted:

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                          LOCAL RULE CV-7(G) CERTIFICATE

        The undersigned certifies that counsel for MEF has attempted to confer with counsel for

both Plaintiffs and Defendants. Defendants consent to the filing of MEF’s amicus brief. Plaintiffs’

counsel did not respond to MEF’s attempt to obtain consent to the filing of MEF’s amicus brief.

Date: August 26, 2024                        Respectfully submitted:

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on August 26, 2024, a copy of the above was served on all

parties of record via CM/ECF.



                                                   /s/ Keith M. Remels
                                            Keith M. Remels




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